              Case 1:21-cv-01390-JPB Document 141 Filed 09/23/22 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
                                  1:21-cv-01390-JPB
                          VoteAmerica et al v. Raffensperger et al
                                Honorable J. P. Boulee

                   Minute Sheet for proceedings held In Open Court on 09/23/2022.


    TIME COURT COMMENCED: 2:30 P.M.
    TIME COURT CONCLUDED: 2:30 P.M.                COURT REPORTER: Geraldine Glover
    TIME IN COURT: 00:30                           DEPUTY CLERK: Jordyn Holder
    OFFICE LOCATION: Atlanta

ATTORNEY(S)          William Carver representing Georgia Republican Party, Inc.; National
PRESENT:             Republican Congressional Committee; National Republican Senatorial
                     Committee Republican National Committee

                     Jonathan Diaz representing Center for Voter Information; VoteAmerica;
                     Voter Participation Center


                     Cameron Norris representing Georgia Republican Party, Inc.; National
                     Republican Congressional Committee; National Republican Senatorial
                     Committee; Republican National Committee

                     Valencia Richardson representing Center for Voter Information;
                     VoteAmerica; Voter Participation Center


                     Bryan Tyson representing Anh Le; Brad Raffensperger; David Worley;
                     Matthew Mashburn; Rebecca Sullivan




PROCEEDING           Telephone Conference(Other Proceeding Non-evidentiary);
CATEGORY:
                     Telephone conference held regarding the [138] Consolidated/Joint
MINUTE TEXT:         Discovery Statement re: 30(b)(6) Depositions of RNC & GAGOP. The
           Case 1:21-cv-01390-JPB Document 141 Filed 09/23/22 Page 2 of 2

                  Court heard from the parties on the discovery disputes listed within the
                  notice. All issues were resolved on the record with the exception of one.
                  The Court directed the parties to confer and attempt to schedule the
                  deposition at issue without the Court's involvement.

HEARING STATUS:   Hearing Concluded
